Case 1:04-cv-01256-.]DT-STA Document 16 Filed 05/05/05 Page 1 0f2 Pa%p 31

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IN THE UNITED STATES DISTRICT COURT O%, _‘
FOR THE wESTERN DISTRICT OF TEi\n\n_<:SsEEmd ‘ \y " 551
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FRED JONES, ) `“' '¢"‘V '@z,;//i?i”/Z/--
) 41'/‘/"6?/' "~VCQ
. . 550/l /`
Plamtlff, ) /
)
v. ) CIVIL ACTION NO. 04-1256-T-
) An
THE PROCTER & GAMBLE )
MANUFACTURING )
COMPANY, a corporation, )
)
Defenda.nt. )

ORDER GRANTING MO'I`ION FOR EXTENSION OF TlM_l*_]
Defenda.nt Procter & Gamble’s motion for extension of time in which
to file its motion for summary judgment is hereby GRANTED. Procter &

Gamble shall file its motion for summary judgment within 30 days after

Plaintiff has concluded its 30(b)(6) deposition(s) of Defendant. W M '

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So ordered this l d;y of %05.

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nited States Magi-stl=ate-Judge

This document entered on the docket sh/eet ln compliance
with ama se and:or,?s (a) FncP on J ” '

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
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ESSEE

 

Venita Marie Martin
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

R. LaWrence Ashe
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Cynthia G. Burnside
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Stephen D. Wakefield

WYATT TARRANT & COl\/[BS
P.O. Box 775000

1\/lemphis7 TN 38177--500

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Honorable J ames Todd
US DISTRICT COURT

